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 4
     Attorney for Defendant
 5   ANDY LEE MENDOZA
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 7
 8
                              UNITED STATES DISTRICT COURT
 9
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA          )             CASE NO. 1:05-CR-00232-AWI
                                       )
12                                     )             STIPULATION AND
                      Plaintiff,       )             ORDER TO EXONERATE BOND
13                                     )
           v.                          )
14                                     )
     ANDY LEE MENDOZA,                 )
15                                     )
                      Defendant.       )
16   _________________________________)
17
           Defendant ANDY LEE MENDOZA, by and through his counsel of record,
18
     NICHOLAS F. REYES, and Plaintiff, UNITED STATES OF AMERICA, by and through
19
     its counsel of record, KATHLEEN A. SERVATIUS, Assistant United States Attorney for
20
     the Eastern District of California, hereby stipulate that the property bond posted for the
21
     release of defendant be exonerated. Defendant is presently in custody. The properties are
22
     described as follows:
23
           617 Fairview Road
24         Bakersfield, California
           Deed Number 100 202121
25         Recorder Number 0205179565
26         4304 Keyes Court
           Bakersfield, California
27         Deed Number 100 202120
           Recorder Number 0205176566
28
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 1   IT IS SO STIPULATED
                                               Respectfully submitted,
 2
 3
     Dated: 04-19-07                           /s/ Nicholas F. Reyes
 4                                             NICHOLAS F. REYES
                                               Attorney for Defendant
 5                                             ANDY LEE MENDOZA
 6
 7   IT IS SO STIPULATED
 8
 9   Dated: 04-19-07                           /s/ Kathleen A. Servatius
                                               KATHLEEN A. SERVATIUS
10                                             Assistant U.S. Attorney
11                                     ORDER
12
     IT IS SO ORDERED.
13
     Dated:    April 21, 2007               /s/ Anthony W. Ishii
14   0m8i78                           UNITED STATES DISTRICT JUDGE
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